Case 2:05-cr-20152¥.]PI\/| Document 15 Filed 08/29/05 Page 1 of 3 7 Page|D 20

 
  

 

IN THE UNITED sTATEs DISTRICT coURT HBJBY..._ _;_______n.g
FoR THE wESTERN DISTRICT oF TENNESSEE \ `
wEsTERN DIvIsIoN 05 AUG 29 AH 5=1»3
DWEMBCU.D
UNITED STATES oF AMERICA W li')F&TDI}x|SIf§§J{°l‘|S f

Plaintiff,

V.

/70¢//037/ /(/ZW-Fo“/I

Criminal No ,i:¢;r 20 lg?- Ml

(90-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the
September, 2005, criminal rotation calendar, but is now RESET for
report at 9:00 a.m. on Wednesdav, November 23. 2005, with trial
to take place on the December, 2005, rotation calendar with the
time excluded under the Speedy Trial Act through December 16,

2005. Agreed in open court at report date this 26th day of

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Case 2:05-cr-20152-.]PI\/| Document 15 Filed 08/29/05 Page 2 of 3 Page|D 21

August, 2005.

so oRDERED this 26th day of August, 2005.

MCOM

 

JO PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

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Assistant Unitéd/States Attorney

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Counsel for Defendant(s)

 

 

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This notice confirms a copy of the document docketed as number 15 in
case 2:05-CR-20152 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

     

ENNESSEE

 
 

 

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Honorable J on McCalla
US DISTRICT COURT

